                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION


CARPENTERS DISTRICT COUNCIL OF                        )
KANSAS CITY PENSION FUND, et al.,                     )
                                                      )
                                     Plaintiffs,      )
          v.                                          ) No. 16-01063-CV-W-HFS
                                                      )
M.S. CONSULTING, LLC,                                 )
                                                      )
                                     Defendant,       )
          and                                         )
                                                      )
DIGGS CONSTRUCTION, LLC,                              )
                                                      )
          [Serve: Nancy Jochens, Registered Agent     )
          1001 East 101st Terrace, Suite 200          )
          Kansas City, Missouri 64131]                )
                                                      )
                                     Garnishee.       )


                                           PRAECIPE


          Please issue a writ of execution in this cause against M.S. Consulting, LLC

returnable in thirty (30) days.

          Date of Judgment:                        January 26, 2017
          Total of Judgment:                       $14,707.40
          Interest (0.82%)                              13.88
          Balance Due:                             $14,721.28

                                     ARNOLD, NEWBOLD, WINTER & JACKSON, P.C.



                                     /s/ Michael G. Newbold                     _____
                                     Michael G. Newbold, MO No. 25523
                                     1100 Main Street, Suite 2001
                                     Kansas City, Missouri 64105
                                     Phone: (816) 421-5788
                                     Fax: (816) 471-5574
                                     Attorneys for Plaintiffs




{00308580;C16-275;AA }

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